Case 08-10015-DWH        Doc 11    Filed 01/17/08 Entered 01/17/08 14:26:15   Desc Main
                                  Document      Page 1 of 3



                          UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF MISSISSIPPI


IN RE: KENNETH A. DOWNING
AND PAMELA J. DOWNING                                                     CHAPTER 7

DEBTORS                                                             CASE NO. 08-10015

                    MOTION TO WAIVE DEBTOR=S APPEARANCE
                       AT 341(a) MEETING OF CREDITORS

       COME NOW, Debtors, by and through their attorney of record, and request this

Honorable Court to issue an order waiving the Debtor=s appearance at the 341(a) Meeting

of Creditors, and would state to the Court as follows, to-wit:

       1.     That Ms. Downing=s health makes it impossible for her to attend her 341(a)

Meeting of Creditors. A copy of a letter from Pamela J. Downing=s doctor is attached

hereto as Exhibit AA@.

       2.     That no Creditor will be prejudiced by the Debtor=s absence from the

341(a) Meeting of Creditors.

       WHEREFORE, PREMISES CONSIDERED, Debtors move this Honorable Court

to waive the appearance of the Debtor, Pamela J. Downing, at the 341(a) Meeting of

Creditors.



                                          RESPECTFULLY SUBMITTED,



                                          _/s/Karen B. Schneller__________________
                                          KAREN B. SCHNELLER, MSB # 6558
                                          ATTORNEY AT LAW
                                          POST OFFICE BOX 417
                                          HOLLY SPRINGS, MISSISSIPPI 38635
                                          (601) 252-3224
Case 08-10015-DWH      Doc 11    Filed 01/17/08 Entered 01/17/08 14:26:15       Desc Main
                                Document      Page 2 of 3




                              CERTIFICATE OF SERVICE


       I, Karen B. Schneller, Attorney for Debtor, do hereby certify that I have this day
mailed, via electronic delivery or postage prepaid, a true and correct copy of the above
and foregoing Motion To Avoid Lien to:

Hon. Stephen P. Livingston
Chapter 7 Trustee
P. O. Box 729
New Albany, MS 38652

U. S. Trustee
100 West Capitol Street, Ste 706
Jackson, Mississippi 39269

       This the 17th day of January, 2008.



                                         ___/s/Karen B. Schneller________
                                                 KAREN B. SCHNELLER
Case 08-10015-DWH        Doc 11    Filed 01/17/08 Entered 01/17/08 14:26:15     Desc Main
                                  Document      Page 3 of 3




                           UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF MISSISSIPPI

 IN RE: KENNETH A. DOWNING
 AND PAMELA J. DOWNING                                                      CHAPTER 7

 DEBTORS                                                              CASE NO. 08-10015

                            ORDER WAIVING APPEARANCE


       This matter came on to be heard this day on the motion of Debtors requesting the

Court waive the appearance of Pamela J. Downing at her 341(a) Meeting of Creditors and

it appearing unto the Court as follows, to wit:

       1. That due to the Debtor=s health issues, she is unable to attend her 341(a)

Meeting of Creditors.

       2. That no Creditor will be prejudiced by the Debtor=s absence.

       IT IS, THEREFORE, ORDERED that the Debtor, Pamela J. Downing, appearance

at the 341(a) Meeting of Creditors is hereby waived.

       SO ORDERED this the _______ day of _____________________, 2008.



                                          _______________________________________
                                          DAVID W. HOUSTON, III
                                          U. S. BANKRUPTCY JUDGE
